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                   IN T H E U N ITED STATES D ISTRICT CO U RT                  22T 26 2212
                   FO R TH E W E STERN D IST RICT O F W RG IN IA
                                                                            JUL C. DLEM CLERK
                                                                          BY;
                               R OAN OU D IW SIO N
                                                                               D PUTY CLER
m    ON A.LU CIAN O ,

      Plaintiff,
                                               CivilAction N o.7:18cv00328
V.
                                               By: H on.M ichaelF.U rbansld
W R GIN IA D EPART M EN T O F                  ClaiefUGted StatesDistrictJudge
M O TO R VEH ICLES,etal.,

      D efendants.

                            M E M O RAN D U M O PIN IO N

      Pro î-qplaintiffAaron A .Luciano ftled an am ended com plzntin thisacéon against
          .




defendantsG overnorRalph N ottham ,Attozney G eneralM atk H erring,and D M'V

Com m issionezm chard H olcom b,alleging violaéonsofdue processand equalprotecéon

arising from thesuspension oflnisddver'slicensedue to nonpaym entofcourtcosts.ECF

No.14.Thedefendantsmoved to disnéssthisacdon forinsufhcientserviceofprocess

pursuanttoFederalRtzleofCivilProcedtue129$(5).ECF No.17.'I'hemattethasbeenflally
bdefed.The courtdispenseswith oralarplm entbecause thelegalcontendonsate adequately

presented in them aterialsbeforethecouttand argum entwould notaid thedecisional

process.Forthe following reasons,them odon to disnaiss,treated asam odon to quash,will

be GRAN TED ,and the serdce ofprocesson thedefendantsishereby quashed.

                                          1.

      Onluly 11,2018,Luciano ftled acomplaintagainsttheVirginiaDepartmentof
M otorVellicles(<TDM V')andAttorneyGenerz ofVitginiaforthesuspension ofllis
driver'slicensedue to nonpaym entofcout'tcosts.ECF N o.2.The courtgtanted Luciano's


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moéontoproceedi!lforma au edsonluly12,2018,butdismissedhisclnim onthesame
daypursuantto 28U.S.C.j 1915(e)(2)(B).ECF No.3.FollowingLuciano'smodon to
amendlniscomplaint(ECF No.9),thecouttdirecyed theclerk to filel'
                                                               tisptoposed amended
com plainton August27,2018.ECF N os.13-14.

      In theproposed am ended com plaint,Luciano challengestheconsdtudonalityofVa.

Codej46.2-3951)andnamesGovernorRalphNortham,AttorneyGeneralMarkHerring,
and D epartm entofM otozVehiclesCom m issionerRichard H olcom b asdefendantsin their

ofik ialcapacides.ECF N o.9-1.Luciano statesthatllislicensewasrevoked in 2007,butthat

therevocatbn did notbegin until2017duetounpaidcouttdebt.Li at2.Lucianogenetally

clnim sthatthe deprivadon oflzislicense,withouta statedetetvninaéon ofllisability to pay

theçotzrtdebtotopporturtity to be heazd in connecdon with the suspension,violatesthe

DueProcessandEqualProtecdonClauseq.J-
                                    1.
                                     Lat2-3.Lucianoseeksadeclaratoryjudgment
thatVa.Codej46.2-3957)isunconsdmtionalandaninjuncdonthat130thpreventsthe
defendantsfrom enforcing the stam te and directsreinstatem entofautom adcally suspended

driver'slicenses.Id.at3.

      The defendantsm oved to clismissLuciano'sam ended com plaintforinsuffkient

serdceofprocesspursuanttoFederalRuleofCivilProcedure129$(5)on September18,
2018.ECF N o.17.The defendantsassertthatLuciano served them by cero ed m ail.ECF

N o.18.According to thedefendants,thisisinsuffcientbecause FederalRule ofCivil

Procedure4(e)(2)doesnotpet-mitceréhedmailasaform ofservice,andRule4(e)(1)-
incorpozating the service lawsin Virgizzia- also doesnotallow forcerùfied m ailasa fozm of

serdce.Inzesponse,LucianoazgtzedthatFederalRuleofCivilProceduze4(i)applied,which


                                    2
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allowsfor serdce on theU nited Statesand itsagencies,com oraéons,ofûcers,orem ployees

bycertified mail.ECF No.20.Luciano also notesthatVizginiaCodej8.01-288,whichis
incomoratedthtough Rule4(e)(1),findsserdcesufEcientiftheprocesshasbeenreceived
withinthetimerequiredbylaw.ThedefendantsftledareplycontendingthatRule4(i)is
inapplicablegiven theircapacidesasem ployeesofthe Com m onw ealth and thatVitginia

Codej8.01-288only servesasacuzativestattzteand doesnotnegateserdcerequirements.


       Rule 4 oftheFederalRulesofCivilProcedureoutlineshow a partym ay serve an

opposing party.Therulespecihesanum berofm eansofeffecéng sérviceon individuals,

including petsonalserdce,substituted service atthedefendant'susualabode,and serviceon

astatutorily-definedagent.SeeFed.R.Civ.P.4(e)(2).Inaddiéon,Rule4providesthat
pardesm ay serveindividualsby <ffollowing state1aw forserving a slxm m onsin an acéon

broughtin courtsofgeneraljurisdictioninthestatewherethedistrictcourtislocated or
whereserviceismade.''Fed.R.Civ.P.4(e)(1).Rule4also providesthatpardesmayserve
the Uzzited Statesand itsagencies,com ozatbns,officers,ozem ployeesvia cezdfed m ailoz

by delivery to theU nited StatesA ttorney,otadesignated em ployee,in the disttictin which

theacdonisbrought.Fed.R.Civ.P.4(i).
       Luciano arguesthatcertified m ailisa sufhcientfotm ofservicein thisacdon under

Rule4(i)andRule4(e)(1).'Rule4(i)plainlyisinapplicableto thecurrentacuon.Rule.4(i)
appliesonly to service'on theU/ ted Statesand itsagencies,com oradons,ofhcers,or

em ployees.Cf.Co le v.U.S.D e 'tofEner ,N o.2:11-CV-00416,2011N'
                                                               VL 7645844,at


1LucianodoesnotassertthathecompliedGtIIRule4(e)(2).


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*3(S.D.W .Va.Sept.12,2011),re ortandrecommendaéonado ted No.2:11-CV-00416,
2012WL 1111568(S.D.
                  W .Va.M at.30,2012)(fflkule4(i),FederalRulesofCivilProcedlzre,
setsforth amuld-step procedureforserviceofprocesson afederalentâty.''l;Brid eforth v.
Potter,No.ICV.A.3:10-CV-00030,2010W L 2671313,at*1(W.D.Va.July2,2010)(ffRule
4(i)setsforththerequizementsforserdngtheUnitedStatesanditsagencies(91thiscase,
theUSPS),corporations,officers,oremployees.').Luciano'srelianceon Moorev.
Hosemann,591F.3d741(5thCir.2009)isinapposite.TheU.S.CourtofAppealsforthe
Fifth Circuitheld thatfTthem ostreasonablereading ofrule4 affordsstate ofhcersfacing

ofik ialcapacity suitsthesam e consideration given to'federalofficersin the sam e posidon''

in zeferenceto m andatorywaiver.SeeM oore,591 F.3d at747.The couztfound state and

federalofikialsto be sim ilarly situated forpum osesofm andatoryw aiver,notforfotm sof

serviceperm itted undertheFederalRules.M ooredoesnotexpand the typesofpev issible

serviceupon stateem ployees.A sthe defendantsareem ployeesofthe Com m onw ealth and

nottheUnited States,theycannotbeservedpursuanttoRule4(i).
       Rule4(e)(1)similatlydoesnotsupportLuciano'sselectedfot.m ofserviceuponthe
defendants.Rule4(e)(1)pefvnitsserviceofthesllmmonsandcomplzntbyfTfollowingsute
law fozservingaslnmmonsinanacéonbtoughtincouttsofgeneraljurisdicdoninthestate
wheretheclistrictcouttislocatedorwhereserviceismade.''Fed.R.Civ.P.4(e)(1).Virgt
                                                                              'nl
                                                                                'a
law applieshere asthelaw ofthe state in wlzich thisdistrictcotutislocated and where

servicewasattem pted.UndezVitg'
                              m
                              'â'alaw ,aparty m ay serve individualsin the

Com m onwealth ofVitgizliaby personalserdceorsubsdtazted service atthe defendant's

usualplaceofabode.SeeVa.Codej8.01-2969Belcherv.W alz,No.1:12CV00031,2012


                                             4
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WL 4458190,at*1(W .D.Va.Aug.30,2012)(addressingavailableformsofserviceupon
stateofficialssuedin thei.
                         rofficialcapacity);seealsoFauberv.Vit ''aAt'm Nat.Guatd,
No.5:08-CV-00068,2009W L 959636,at*1(W.D.Va.Apr.9,2009)(citingj8.01-296 for
serdce upon thegovernorand attorney generaland grandng m odon to quash because of

serdcebyceréfed mail).Although thefederaltulesdo allow forserdceto bemade
according to the1aw ofthe state in which the courtislocated,Luciano failed to com plywith

themethodsspecihed forserviceunderVa.Codej8.01-296.Celtihed mailwasnotan
available opéon forserviceofprocess.BecauseLuciano did notcom plywith federalorstate

law prescribing service ofprocess,he failed to effectproperservice on thedefendants.

        In hisbriefing,Luciano arguesthatVirginiaCodej8.01-288 supportsthathisserdce
upon thedefendantswassufficient.zSecdon j8.01-288states:
                Except for process com m encing acions for divorce or
                annuV ent of m atriage or other acéons wherein service of
                process is speciflcally ptescribed by stattzte,processwlzich has
                reached the person to whom it is directed within the tim e
                presctibed by law,ifany,shallbe sufficientalthough notserved
                oraccepted asprovided in thischapter.

Processforpumosesofj8.01-288includesnotice.SeeVa..codej8.01-2859seealso
Bendeleex tel.Bendelev.Com .D e 'tofM ed.Assistance Sew s.,29 Va.App.395,400,512

S.E.2d827,829(1999)rtgljfpzocessincludesnoéce,itdoesnotfollow thatanynoécemust
constituteprocess.Ifaproceduterequiresthatapartyreceive process,info= alnodcewill

notnecessarilym eetthereqllitementforprocess.').f%yitsplain languagethestam teapplies
onlywhen çprocess'hasreached Ttheperson to whom itisditected.'''LifestarRes onse of


2R'
  hecourtnotesthataplaindff'sdutytoSIIf!IItherequirementsofRule4(e)(1)ffisnotalleviatedsimplybecausetlze
defendanthasactuallyreceivedthecom plaint''FirstA ssem bl ofG odofAlexandria Inc.v.CathedralD esi & Const.
Inc.,CIV.A.08-1053,2009WL 1392541,at*3(E.D.Va.May15,2009).

                                   5
Case 7:18-cv-00328-MFU Document 23 Filed 10/26/18 Page 5 of 9 Pageid#: 111
 Ma land lnc.v.Ve osen,267Va.720,725,594S.E.2d 589,591(2004);seealso Cam bell
 v.Ham tonRoadsBanksharesInc.,925F.Supp.2d800,806(E.D.Va.2013)rYirgitzia
 coul'tshavem adeitabundantly clearthattheoperadon ofthe statazterequiresthatthe

 defendanthavereceivedcourtissuedprocess,notwithstandingF'
                                                         itginiaCode)j8.01-285.':)9
 M use Const.G . Inc.v.Com .Bd.forContractors,61 Va.App.125,141,733 S.E.2d 690,

 697-98 (2012)riTheSupremeCourtinAy-qr.
                                      yrecognized thatthisstatuteappliesin a
 sim ation where court-issued processhasactuallyreached the agency secretarp H owever,

 Ay.
   .
   e.v
 - -      mostcettainlydid nothold thatCodej8.01-288applieswhen aperson simplymails
k.

 a copy ofapetidon forappeal- withoutany accompanying court-issued process- to an

 agency secretaty').Kfunderitscleattetvns,Codej8.01-288isdesignedto cutedefectsin
 themannerkn wllich fprocess'isserved.ltcannotcure defectsin thefprocess'itself.''Lifestar

 Res onse ofM a land,267 Va.at725,594 S.E.2d at591.

           Perthereturnsflled on the docket,Luciano served the am ended com plainton all

 thteedefendantsviacertified m ail.ECF N o.16.Itisunclearwhetherhe served the

 sum m onsitself.Th:retkztnsalso raise quesdonsaboutw ho specifk allyreceived the

 am ended com plaint,asLuciano Ested the individualdefendantsin thei.
                                                                    rofhcialcapacidesfor

 purposesofservice butlaterlisted theiroffces- ffo ffke ofthe G overnor,''<CV'
                                                                             A D M'v ''

 and (fo ffice oftheA ttorney G eneral''- in theproofofserdceform .ECF N o.16.The

     docket,asitstands,doesnotdem onstrate thatthe defendantsteceived ptocessftom the

 court.Thecourtisconcerned thatthe defendantsonly received the am ended com plaint.




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Therefore,j8.0.1-288doesnotapplyto thisactionbecauseLuciano hasnotdemonstrated
thatprocesswasin factserv'ed upon the defendants.3

        Luciano hasnotcatried hisbutden to show ptopetserviceofptocesson the

defendants.SeeMJL Entemrises,LLC v.LaurelGrdens,LLC,No.2:15CV100,2015W L
6443088,at*2(E.D.Va.Oct.23,2015)rfA plainéffbearstheburdenofestablishingthat
serdceofprocessconformed to FederalRuleofCivilProcedure4.':);Ter Ph1
                                                                   'llisSales
Inc.v.SunttustBank,No.3:13-CV-468,2013WL 6055385,at*2-3(E.D.Va.Nov.14,
2013)rfplainéffshavenotmettheirburdentoshow properserdceofprocessofthe
N ondiverseD efendants.Plainéffsdo notassertthatany N ondiverse D efendantreceived

court-issued pzocess,and soVirginia'scuringstatm eisinapplicable.7).Thecourtm ustgrant
thedefendants'm otion.

                                                    111.

        W hen a federalcout'tgrantsam odon ptusuantto FederalRule ofCivilProcedure

129$(5),itmayeitherdisnnisstheacdonorretnintheacdonandquashprocess,givingthe
plainéffthe opporm nity to correctany dehcienciesin serdce.W hen adefendantftlesa

modontodisrnissunderFederalRuleofCivilProceduze12q$(5),thatmodonwillalsobe
treated alternadvely asa m otion to quash process.See e. .,H ale v.Sim m ons,529 F.2d 78,

79 (8th Cir.1976)9Belcher,2012W L 4458190,at*2;Ngabo v.LePain Quoddien,No.DKC
11-0096,2011W L 978654,at*2 (D.Md.Maz.17,2011)9Gzant-Btooksv.Nadonscteclit

3Thecourtrecognizesthatsomefederalcourtshaveliberallyfoundservicetobeeffecdveunderj8.01-288.SeeInre
MotorsortsMerch.AntitrustLaid .,186F.R.D.344,348-49(W.D.Va.1999)Cc nderj8.01-28% serviceiseffecdve
asofthedate thata legaldocllm enthascom e to aperson orendt)rregardlessofhow the doclxm enthascom eto the
personortheent# .'');GoldbeltWolfI, 1',Cv.O eradonalW earArmorI,T,
                                                                 C,No.1:15CV1269QCC/JFA),2016WL
1756487,at*3(E.D.Va.May3,2016)(fflolncepzocesscomestothedefendant'sattendon,itisofnoconsequencethat
themeansbywhichPlaindffinitiallyattemptedtoserveprocesswereimptoperr).However,asLucianohasnotshown
thatprocesswassezved,thesecasesdonotsuppotttheapplicabilityofj8.01-288inthisacdon.


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HomeEqlzityServs.Corp.,No.CIV.A.3:01-CV-2327,2002W L424566(N.D.Tex.Mar.
15,2002).W hereadefectin servicedoesexist,itisin thecourt'sdiscretionwhetherthecase
should bedisnùssed ozwhethezthe service should m erely bequashed.

      G enerally,ifitappearsthateffecdve serdce can be m adeand thedelay resuléng from

ineffectiveservicehascausedno prejudiceto thedefendants,thecouttwillquash theservice
ratherthan disrnissthe acdon.fV here fthe ftrstservice ofprocessisineffecéve,am odon to

ct
 isrnissshould notbegranted,buirathertheCourtshotzld treatthemodon in the
alternative,asone to quash the serdce ofprocessand thecase should be tetsined on the

docketpendingeffecdveservice.'''Ngabo,2011WL 978654at*2(quodngVorheesv.
Fischer& IG ecke,697 F.2d 574,576(4th Cit.1983)).Thecaseshouldonlybedismissed
when thereisno reasonablelikelihood theplaintiffwillbeableto achievepropetserdceon

thedefendants.SeeUmbenhauerv.W oo ,969F.2d25,31(3tdCir.1992).
      ltappearsin thiscase thatitisreasonably likely Luciano willbeable to aclaieve

properserdce on the defendantsaccording to the m ethodsprescribed by Rule 4 ofthe

FederalRulesofCivilProcedute.FedezalRuleofCivilProceduze4(m)providesanirlidal
period of120 daysto accom plish service.Theam ended com plaintwasftled on August27,

2018,and thereforeLuciano stillcan fim ely serve the sllm m onsand com plaintuntilnearly

theend ofthisyear.Based on thisbriehng,Luciano now hasbeen ditected to the procedtual

rtzlesabouthow to properlyservethedefendants.SeeFed.R.Civ.P.4(e).Luciano also may
avoid theexpenseofserdng asummonsandcompbintunderRule4(d)by Tfnotifygingqsuch
a defendantthatan acéon hasbeen com m enced and requestthatthedefendantw aive
                                                              !


service ofasum m ons.''The cotzrtnotesthatadefendantwho receivesarequestto waive



                                            8
 Case 7:18-cv-00328-MFU Document 23 Filed 10/26/18 Page 8 of 9 Pageid#: 114
serdce ofprocessm ay decline and require thattheplaintiffserve a sum m onsand copy of

thecom plaint.The courtthetefore shallquash the service,which providesLuciano an

opportaznityto properly servetheam ended com plaintand sum m ons.

                                          IV .

      Accozclingly,thedefendants'modontodismiss(ECFNo.17),tteatedasamodonto
quash,willbe GRAN TE D ,and the serviceofprocesson the defendantsishereby quashed.

      An appropriate O rderwillbe entered thisday.
                                                 k



                                                 Entered: /o/g6/ a./<e.
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